Action was commenced June 23, 1942, by Margaret Hadler against Henry Rhyner and Norman H. Guelig to recover damages for false imprisonment, slander, and personal injuries sustained as a result of negligence of said defendants.  From a judgment for the plaintiff, the defendants appeal.
On October 11, 1941, a fire occurred in an unoccupied house in the village of Misha Mokwa which partially burned the contents of one room.  The sheriff suspected that the fire was of incendiary origin and immediately notified the fire marshal of the Eau Claire district.  Upon his arrival an investigation was made.  There are only six residences in the village.  The owner of the house, Mr. Lamphere, was questioned and eliminated as a suspect.  Attention was then directed toward Mrs. Hadler, the plaintiff, as the possible offender.  It is unnecessary to review the evidence in this connection but it appears that circumstances justified the conclusion that the fire was of incendiary origin.
The evidence as to the manner in which and the number of times Mrs. Hadler was questioned by the two officials is in conflict.  Mrs. Hadler testified that they came to see her at her home four or five times; that on one occasion she locked the door so they could not get in.  On the other hand, each defendant testified that they made but one visit to her home fore December 15, 1941.  That was the day she was first questioned at the sheriff's office in Alma.  It appears that she then accompanied the officers willingly.  And the jury found in its special verdict that on that day there was no false imprisonment.
The testimony concerning the questioning of the plaintiff on February 19, 1942, is decidedly conflicting.  The plaintiff testified that the officers came to her door at about 3:30 p.m. *Page 450 
and told her she was to come with them for questioning.  She testified that she asked to be allowed to go in the car of Mr. Evans for whom she was working but was told that she could not, that she must come with them; that they had a warrant for her arrest and "possibly they would put handcuffs" on her if she did not come.  She testified that at the sheriff's office she was detained until 2:30 a.m. the next morning; that she was not allowed to make any phone calls; that the outer door was locked and she was not allowed to leave until 2:30 a.m. when the defendants started to take her home in their automobile; that it was a bitterly cold night and she sat in the unheated car near the hotel while she waited for them for over an hour; that she was lightly clad and became numb from the cold; that when they finally brought her home, they were unable to get very far into the driveway and she got out of the car in her yard but some distance from the house; that as a result of her numb and freezing condition she stumbled on the way to her door, falling against the pump on the porch, and sustaining the physical injury to her shoulder and face alleged in the complaint.
Mr. Guelig and Mr. Rhyner, however, each testified that on February 19, 1942, they obtained a subpoena directing the plaintiff to appear for questioning at 3 p.m. at the county jail in Alma; that although they did not arrive at the plaintiff's house until 3:30 p.m. it was not necessary for them to serve the subpoena as she came with them voluntarily; that they never suggested that they had a warrant or would force her to accompany them by using handcuffs; that the questioning at the sheriff's office lasted until about 12:30 a.m.; that at no time was plaintiff given the impression that she could not leave nor was she prevented from using the telephone; at 12:30 a.m. she was taken directly home and no stop was made at the hotel.  When they had driven into the driveway as far as was possible plaintiff got out and went safely to her door and at no time stumbled or fell on the way.  On the adverse *Page 451 
examination, plaintiff testified that she had reached the door safely and then, turning back on a personal errand, fell against the pump injuring her right shoulder.  The jury in its special verdict found that the plaintiff had been falsely imprisoned on February 19, 1942, and awarded as compensatory damages $10, and punitive damages $15.  They found further in plaintiff's favor with respect to negligence of the defendants at and shortly before the time of injury and that damages were sustained by reason of said injuries in the amount of $500. Judgment was accordingly entered.
The complaint set forth four causes of action:  One for false imprisonment in December, 1941; one for slander; one for false imprisonment in February, 1942; and a fourth for negligence.  Only two of the separate and distinct causes of action survived the verdict and rulings in the trial court, and those two present the only issues on this appeal.  Our first question is one concerning the sufficiency of the evidence on which the jury found that respondent had been imprisoned without warrant of law by the appellants on February 19, 1942.  The other is whether respondent's personal injury occurring after her detention ended was caused by the negligence of the appellants.
In this case, under the evidence accepted by the jury, the respondent was compelled to go with appellants to the sheriff's office under the threat of physical force or by the threat of the use of handcuffs.  She was questioned in a room, the door of which was locked.  She was not allowed to leave *Page 452 
or use the telephone until appellants released her after eleven and one-half hours.  This evidence shows sufficient facts on which to ground a finding of false imprisonment.  The acceptance by her at a later time of the fee of a witness, although material as evidence bearing on the question of her voluntary submission to the restraint, does not of itself prevent a recovery for damages sustained by reason of the unlawful restraint.  "False imprisonment is defined to be `the unlawful restraint by one person of the physical liberty of another.'"  Weiler v. Herzfeld-Phillipson Co.189 Wis. 554, 557, 208 N.W. 599.  A subpoena cannot be disregarded lightly, neither can its observance be enforced by use or by threat of use of physical force.  An officer may not disregard the bounds of his authority in following his own exaggerated interpretation of the nature of law enforcement.  While the jury did not consider the transgression of respondent's rights of enough consequence to warrant the granting to her of much more than nominal damages, they evidently believed the officers were acting in bad faith when they threatened to place her under arrest and to use handcuffs if she did not accompany them.  Vindictive damages may be allowed for an illegal arrest and false imprisonment when bad faith is manifested.Hamlin v. Spaulding, 27 Wis. 360.  The judgment in respondent's favor on the false imprisonment cause of action must be affirmed.
The other cause of action on which judgment was granted allowing damages was for the alleged negligence of the appellants in their treatment of respondent after her release, causing her to fall on her porch.  The jury in its special verdict found the appellants guilty of the negligence charged. The learned trial judge in his decision on motions after verdict, however, says that this cause of action for personal injury on the trip home is really a claim for damages incident to the false imprisonment.  This ruling results in a double and confusing consideration of items belonging to different *Page 453 
causes of action, although the court instructed the jury with respect to the false imprisonment as follows:  "In assessing compensatory damages for false imprisonment, you should include reasonable compensation for any physical injury done to the plaintiff by the defendant in making such arrest and detention, a reasonable compensation for all loss of time and all such suffering from sense of anxiety, insult, indignity and other injury to feelings, if any, as the evidence shows to a reasonable certainty was the natural result of the arrest and imprisonment in question."  The cause of action for negligence was, under the pleading and as a matter of fact, separate and distinct from the claim arising out of the false imprisonment. It was so submitted to the jury and the jury's attention was carefully directed to the assessing of damages, if any, resulting from the failure to exercise ordinary care under a relationship of the parties differing from that which existed up to the time restraint ended.  They were told to name such sum as they were satisfied to a reasonable certainty and by the preponderance of evidence would fairly and reasonably measure the damages which she sustained as a result of such negligent conduct.  The imprisonment ended, of course, when the release of her person occurred under fit and reasonable circumstances.  According to the instructions to the jury she was entitled to reasonable compensation for loss of time and expense.  This would include a return home.  When that time came, the evidence shows she was not dependent upon or at the mercy of appellants.  She was not then sick or disabled nor suffering physically in any way.  From a legal point of view, in escorting her to her home, there would be nothing to give rise to any liability for damages unless appellants were guilty a further tort other than and differing from the false imprisonment. Under the alleged cause of action for negligence, the failure to exercise ordinary care was in letting respondent choose to stay in the car while appellants were in the hotel. The officers were willing to take her home and she accepted the *Page 454 
offer.  Their duty, then, was no less and no greater than would have been that of a stranger to the false imprisonment.  To allow damages for an act occurring after the termination of the false imprisonment, on the theory that had the imprisonment not occurred the accident would not have taken place, is to expand the liability for consequences of a wrongful act far beyond its proper bounds and altogether too far into the field of remote effects.  This cause of action is predicated on negligence.  There must be some failure in some duty subsequent to and independent of the false imprisonment.  The relation of jailor and prisoner had ceased to exist and a host-guest relationship with different obligations and duties had come into being.  The respondent's negligence in sitting in the cold car was equal to that of the appellants in permitting her to do so.  She was then free.  According to her story she was but a step from a hotel and its hospitality was available. Under the circumstances, the respondent's negligence in comparison with that of appellants, if on their part any existed, and under the existing circumstances we do not hold such to be the case, would certainly be as great or greater than theirs. This, in any event, prevents a recovery by her on that cause of action.  And that much of the judgment relating thereto must be reversed.
By the Court. — Judgment in so far as it allows damages for false imprisonment is affirmed but reversed in so far as it allows damages on the cause of action for negligence. *Page 455 